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                            IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON


DONNA R. HENDRICKSON,

               Plaintiff,                              Case No. 6:20-cv-01329-JR

       vs.                                             ORDER GRANTING PLAINTIFF’S
                                                       UNOPPOSED MOTION FOR
COMMISSIONER,                                          ATTORNEY FEES PURSUANT TO 42
Social Security Administration,                        U.S.C. § 406(b)

               Defendant.


       Plaintiff Donna R. Hendrickson brought this action seeking review of the

Commissioner’s final decision denying her application for disability benefits under the Social

Security Act. Based on the stipulation of the parties, the Court reversed the Commissioner’s

decision and remanded the case for further proceedings. The Commissioner subsequently found

Plaintiff entitled to disability benefits beginning July 2016.

       Plaintiff now seeks an award of fees pursuant to 42 U.S.C. § 406(b). Defendant has not

objected to the request. I have reviewed the record in this case, the motion, and the supporting

materials, including the award of benefits, the fee agreement with counsel, and the recitation of

counsel’s hours and services. Applying the standards set by Gisbrecht v. Barnhart, 535 U.S.
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789, 796 (2002), the Court finds that the requested fees are reasonable.

       Plaintiff’s Motion for Attorney Fees Pursuant to 42 U.S.C. 406(b) is hereby GRANTED,

and Plaintiff’s counsel is awarded $19,057.78 in attorney’s fees under 42 U.S.C. § 406(b).

Previously, Plaintiff’s counsel received fees in the amount of $5,615.96 under the Equal Access

to Justice Act (“EAJA”), 28 U.S.C. § 2412. When issuing the § 406(b) check for payment to

Plaintiff’s attorney, the Commissioner is directed to subtract the amount awarded under the

EAJA of $5,615.96, and to send the balance of $13,441.82, less any applicable processing or

user fees prescribed by statute, to Plaintiff’s attorneys at WELLS, MANNING, EITENMILLER

& TAYLOR, P.C.,1 474 Willamette Street, Eugene, Oregon 97401. Any amount withheld after

all administrative and court attorney fees are paid should be released to the claimant.



       IT IS SO ORDERED this 24th day of June, 2022.



                                                      /s/ Jolie A. Russo
                                                     ___________________________________
                                                     JOLIE A. RUSSO
                                                     United States Magistrate Judge


Proposed Order submitted by:
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1
       Formerly known as HARDER, WELLS, BARON & MANNING, P.C.

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